Case:20-17488-EEB Doc#:36 Filed:12/07/20             Entered:12/07/20 16:55:56 Page1 of 4




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
BAVARIA INN RESTAURANT, INC.                )      Case No. 20-17488 EEB
dba Shotgun Willies                         )      Chapter 11
a Colorado Corporation                      )
EIN XX-XXXXXXX                              )
                                            )
Debtor.                                     )


                          PRE-STATUS CONFERENCE REPORT


      Debtor-in-Possession, Bavaria Inn Restaurant, Inc. dba Shotgun Willies (“Debtor”),
through its counsel, Weinman & Associates, P.C., hereby submits its Pre-Status
Conference Report as follows:

1.       Debtor filed its Chapter 11 Voluntary Petition on November 18, 2020.

2.       Since the date of the filing of its bankruptcy petition, the Debtor has remained in
         possession of its assets, and has operated its business and managed its financial
         affairs as a Debtor-in-Possession pursuant to 11 U.S.C. §§1107 and 1108.

3.       Debtor has elected to proceed under Subchapter V of Chapter 11 of the Bankruptcy
         Code.

4.       Shotgun Willie’s is a Gentleman’s Club founded in 1982 by Debbie Dunafon.
         Throughout its history it has been highly successful and is considered one of the
         finest clubs of its type in the country. Ms. Dunafon remains its majority owner and
         the driving force behind the success of the Club.

5.       Pursuant to Gubernatorial Order, the Club had to close in March 2020 due to the
         Covid-19 pandemic. The Club remained closed for approximately one month.
         Moreover, even after relaxation of the closure order and the Club’s reopening, it was
         still subject to significant operational restrictions, in particular, with respect to
         operating hours. Indeed, the restricted operations impacted the Club’s performance
         significantly as it had to close at 9:00 P.M. and historically, peak business hours
         were from 10:00 P.M. to 2:00 A.M..

6.       On November 27, 2020, the Club was again required to close and, to date, remains
         closed.
Case:20-17488-EEB Doc#:36 Filed:12/07/20          Entered:12/07/20 16:55:56 Page2 of 4




7.    In anticipation of a period of extended business interruption as a consequence of
      the pandemic, Debtor accumulated cash to survive future limitations on operations
      and continued closure. To achieve this, many vendors were unpaid and rent
      payments curtailed.

8.    Ironically, in late 2019, after having considered the option to do so for a number of
      years, Debtor proceeded to place itself in the best position to offer the business for
      sale. In this connection, tax advisors suggested that the building which Debtor owns
      should be transferred to another entity. This was accomplished in January of 2020.
      Nevertheless, counsel for a pending litigant perceived the transfer to be fraudulent
      and threatened additional litigation. To avoid unnecessary additional litigation and
      since a sale of the Club was is longer feasible, the transaction wherein the building
      housing the Club was transferred, was reversed.

9.    Debtor is indebted to Citywide Bank in the amount of approximately $2.0 million and
      the Bank has a security interest in all of Debtor’s assets, including some of its
      accounts. Counsel for the Bank and Debtor are discussing cash collateral and Plan
      treatment issues and a cash collateral agreement is anticipated to be filed shortly.

10.   Importantly, Debtor does not own the land upon which its facility sits although it
      does own the building. Debtor is a tenant under a land lease with a third party, Coal
      Creek Partners, LLC. While some of the owners of the Debtor are the same as that
      of the landlord, there is not an identity of interests.

11.   Furthermore, in preparation for a possible Bankruptcy filing, counsel reviewed the
      lease between Debtor and Coal Creek. This review revealed that annual
      adjustments to Base Rent had been miscalculated. Indeed, by its reading of the
      lease, Debtor believes that it is in arrears at least $750,000. On the other hand,
      based upon Coal Creek's interpretation of the same provision, it calculates the
      arrearage at far in excess $2.0 million.

12.   The parties are currently discussing this discrepancy, negotiating how to resolve it
      and a consensual assumption of the lease.

13.   Debtor hopes that it can resume operations in the near future but expects that its
      performance will be greatly reduced for the foreseeable future post-reopening. The
      political climate suggests that the vaccine which will be made available in the near
      future, may not be universally accepted, which could cause the virus to persist
      indefinitely with a corresponding negative impact on Debtor’s business
      performance. It currently has sufficient cash to remain closed for approximately four
      months with reduced overhead.




                                            2
Case:20-17488-EEB Doc#:36 Filed:12/07/20   Entered:12/07/20 16:55:56 Page3 of 4




DATED: December 7, 2020

                                  Respectfully Submitted,

                                  WEINMAN & ASSOCIATES, P.C.



                                  By: /s/ Jeffrey A. Weinman
                                          Jeffrey A. Weinman, #7605
                                          730 17th Street, Suite 240
                                          Denver, CO 80202-3506
                                          Telephone: (303) 572-1010
                                          Facsimile: (303) 572-1011
                                          jweinman@weinmanpc.com




                                     3
Case:20-17488-EEB Doc#:36 Filed:12/07/20         Entered:12/07/20 16:55:56 Page4 of 4




                              CERTIFICATE OF SERVICE

       I hereby certify that I have served on this 7th day of December, 2020, a true and
correct copy of the foregoing PRE-STATUS CONFERENCE REPORT by electronic mail
through the Court’s CM/ECF system using the e-mail addresses on file with the Court as
obtained from the parties-in-interest’s Notices of Entry of Appearance to the following:

Paul V. Moss, Esq.
U.S. Trustee’s Office
1961 Stout St., Ste. 12-200
Denver, CO 80294
Paul.Moss@usdoj.gov

Bavaria Inn Restaurant, Inc.
dba Shotgun Willies
ATTN: Deborah Dunafon, President
490 S. Colorado Blvd.
Denver, CO 80246

Harvey Sender
Subchapter V Trustee
600 17th Street, Suite 2800 South
Denver, CO 80202
hsender@sendertrustee.com

David J. Warner, Esq.
Wadsworth Garber Warner Conrardy, P.C.
2580 W. Main St., Suite 200
Littleton, CO 80120
dwarner@wgwc-law.com

Duncan E. Barber, Esq.
Shapiro Bieging Barber Otteson LLP
7979 E. Tufts Ave., Ste. 1600
Denver, CO 80237
dbarber@sbbolaw.com

Darrell G. Waas, Esq.
Waas Campbell Rivera Johnson & Velasquez LLP
1350 17th Street, Suite 450
Denver, CO 80202
waas@wcrlegal.com

                                                /s/ Lisa R. Kraai


                                           4
